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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                            19 Civ. 1013 (DLC)
 IN RE GENERAL ELECTRIC SECURITIES
 LITIGATION                                 ORAL ARGUMENT REQUESTED




             MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
               MOTION TO DISMISS THE AMENDED COMPLAINT




                                       LATHAM & WATKINS LLP
                                       Miles N. Ruthberg
                                       Blake T. Denton
                                       885 Third Avenue
                                       New York, New York 10022
                                       (212) 906-1200

                                       Sean M. Berkowitz (pro hac vice)
                                       330 North Wabash Avenue, Suite 2800
                                       Chicago, Illinois 60611
                                       (312) 876-7700

                                       William J. Trach (pro hac vice)
                                       200 Clarendon Street
                                       Boston, Massachusetts 02116
                                       (617) 948-6000

                                       Attorneys for Defendants


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       Defendants General Electric Co. (“GE” or the “Company”), John L. Flannery,

Jamie S. Miller, Jan R. Hauser, Russell Stokes, Chuck Nugent, Scott Strazik, and Joe Mastrangelo

(the “Individual Defendants,” and together with GE, “Defendants”) submit this memorandum of

law in support of their motion to dismiss the Amended Complaint (“AC”) (Ex. 1, cited as “¶ _”).1

                                PRELIMINARY STATEMENT

       This case is about adverse business developments—a write-down of the goodwill estimates

for GE’s Power segment, and technical challenges with the blades on GE’s new H-class power

plant turbines—which Plaintiff concedes were disclosed to investors (and preceded by risk

warnings). Plaintiff’s sole (and baseless) theory is that GE should have disclosed these events a

few quarters earlier, even though GE was prohibited by the accounting rules from taking a goodwill

charge before it did, and GE timely disclosed the challenges with the H-class turbine’s blades once

GE determined the nature and extent of the problem. In both cases, in an effort to portray business

challenges as securities fraud, Plaintiff strings together a series of “would have” and “must have”

allegations, but these cannot substitute for well-pled allegations that a fraud occurred. Under the

applicable heightened pleading standards, Plaintiff fails to establish a single actionable false or

misleading misstatement, or to raise a strong inference of scienter as to any Defendant. Further,

Plaintiff fails to put forward a plausible theory that the purported frauds caused any losses.

       First, Plaintiff alleges, cursorily, that the goodwill balances reported for GE’s Power

segment were overstated prior to announcement of the impairment. But estimates of goodwill


1
         Unless otherwise indicated, all internal citations and quotations are omitted, emphasis is
added, and citations to “Ex. __” refer to exhibits attached to the Declaration of Blake T. Denton.
The Court may consider documents or statements incorporated into the AC by reference, SEC
filings, and “information already in the public domain and facts known or reasonably available to
the shareholders.” See, e.g., In re Sanofi Sec. Litig., 87 F. Supp. 3d 510, 539 n.13 (S.D.N.Y. 2015),
aff’d sub nom. Tongue v. Sanofi, 816 F.3d 199 (2d Cir. 2016); ATSI Commc’ns, Inc. v. Shaar Fund,
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indisputably require subjective assumptions and judgments of value, and therefore must be

analyzed as opinion statements—and Plaintiff does not come close to plausibly alleging that

Defendants did not actually believe the goodwill estimates (which were reviewed by GE’s outside

auditor, KPMG) were accurate at the time they were made. Plaintiff points to the magnitude of

the goodwill impairment charge ultimately taken, but does not allege with particularity how and

when GE’s testing should have led it to take an impairment charge sooner, or any amount by which

the goodwill balance was overstated at any point in time. As this Court recognized in Lucescu v.

Zafirovski, 2018 WL 1773134, at *7 (S.D.N.Y. Apr. 11, 2018), pleading false opinions is “no small

task” in complaints about goodwill, and Plaintiff fails here, just as the plaintiffs in Lucescu did.

       Second, Plaintiff claims Defendants misled investors about an oxidation issue that

ultimately affected a single blade component in GE’s newly launched H-class turbine. Tellingly,

however, Plaintiff bases its claim largely upon supposed misstatements that have nothing to do

with turbine blade oxidation. Instead, Plaintiff seeks to twist general optimistic statements

regarding the quality, performance, and technology of the new H-class turbines into a fraudulent

cover-up of oxidation problems. None of the disclosures cited by Plaintiff supports a fraud claim.

Even Plaintiff’s own allegations concede that GE was dutifully investigating the frequency and

severity of the problem during the purported class period and, once those determinations were

made, the cause of the problem, the plan to fix it, and a reserve to cover the cost of those fixes

were all disclosed. There are simply no particularized facts to support Plaintiff’s theory that

Defendants concealed “systemic manufacturing defects” or that Defendants had a duty to disclose

GE’s ongoing examination of the oxidation issues earlier.

       Third, Plaintiff’s claims fail under either theory for the independent reason that the AC

does not—and cannot—raise a strong inference that Defendants acted with scienter. Plaintiff

identifies no personal motive for any of the Individual Defendants to commit fraud, so Plaintiff

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must meet the high burden of pleading facts creating a strong inference of reckless or conscious

misbehavior. The AC, however, alleges no facts, internal documents, or confidential witnesses

with any knowledge of information in any Individual Defendant’s possession that contradicts the

challenged goodwill opinions or statements regarding GE’s H-class turbines. Indeed, the AC has

just one confidential witness, a former low-level employee (“FE”) whose beliefs have no probative

value at all, given that the FE had zero interaction with any Individual Defendant, let alone first-

hand knowledge of any of the relevant topics in the AC.

       Finally, Plaintiff fails to advance any viable theory of loss causation. The AC asserts that

there were a series of partial corrective disclosures by Defendants, but none of these disclosures

revealed any alleged relevant “truth”; rather, they merely repeated previously known information

or said nothing about the alleged fraud. Moreover, GE’s stock price increased when GE first

announced a potential goodwill impairment charge, and when the H-class turbine issues were first

disclosed. The AC therefore does not plead loss causation.

       These deficiencies cannot be cured. The AC should be dismissed with prejudice.

                                        BACKGROUND

       A.      GE and the Individual Defendants

       GE is a global industrial company headquartered in Massachusetts, incorporated in New

York, and traded on the New York Stock Exchange. ¶¶ 46, 49, 59-60. The Individual Defendants

are current or former executives of GE.2 ¶¶ 50-56. The Company offers a wide range of products


2
        Mr. Flannery served as Chief Executive Officer (“CEO”) and Chairman of GE from August
2017 to October 2018. ¶ 50. Ms. Miller has served as GE’s Chief Financial Officer since October
2017. ¶ 51. Ms. Hauser served as GE’s Controller and Principal Accounting Officer during the
Class Period, until she retired in September 2018. ¶¶ 52, 319. Mr. Stokes served as CEO and
President of GE Power until October 2018, when he became CEO of GE Power Portfolio following
the reorganization of Power. ¶ 53. Mr. Mastrangelo served as CEO and President of GE’s Gas
Power Systems until January 2018. ¶ 56. Mr. Nugent became CEO and President of Gas Power
Systems in March 2018, and, prior to that, he served as Vice President of Manufacturing for Oil

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and services ranging from aircraft engines, power generation, and oil and gas production

equipment, to medical and financial products. ¶¶ 59-60; see also Ex. 45, 2018 Form 10-K, at 4.

The AC focuses on GE’s Power segment. ¶¶ 1, 49.

       B.      GE’s Goodwill Accounting and Reported Goodwill Balances

       One of Plaintiff’s two theories of liability relates to GE’s reported goodwill balances for

its Power segment. Under GAAP, in connection with certain corporate transactions, an acquiring

company accounts for the value of certain non-identifiable assets it has gained as “goodwill.”

¶¶ 207, 209-11. Goodwill is an intangible asset that represents the excess of the purchase price of

an acquired company over the total value of its assets and liabilities. Ex. 4, ASC 805-30-30-1;

¶¶ 207, 210. It therefore incorporates a dimension of going concern value—i.e., the ability of an

established business to earn a higher rate of return on an assembled collection of net assets than if

each asset were acquired separately—as well as the synergies from the combination of the two

companies’ net assets. See Ex. 4, ASC 805-30-20. Goodwill is also evaluated by “reporting unit,”

see Ex. 3, ASC 350-20-35-41, and for a company like GE that has over 150 subsidiaries, a

“reporting unit” can be a group of multiple subsidiaries, see Ex. 45, 2018 Form 10-K, at Ex. 21.

Once a company finalizes its allocation of the purchase price one year after the acquisition,

goodwill stemming from the transaction is allocated to the goodwill balances of the company’s

relevant business segments. See Ex. 3, ASC 350-20-15-2, 350-20-20; Ex. 11, 2016 Form 10-K, at

160.

       GAAP requires that companies conduct annual impairment testing of goodwill balances at

the reporting unit level. Ex. 3, ASC 350-20-35-28; ¶ 216. In step one of that testing, a company




& Gas and Vice President of Supply Chain for Healthcare. ¶ 54. Mr. Strazik served as CEO of
GE Power Services, and then Gas Power, during the Class Period. ¶ 55.


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determines the fair value of the reporting unit and compares it to the carrying amount of the unit’s

net assets on the balance sheet. Ex. 3, ASC 350-20-35-4; ¶¶ 217, 218(a); Ex. 20, 2017 Form 10-

K, at 146. Only if the fair value of a reporting unit is less than its carrying amount does GAAP

permit the company to proceed to step two, in which the company determines the fair value of the

unit’s identifiable assets and liabilities. Ex. 3, ASC 350-20-35-6, 8, 9, 14; ¶ 218(a)-(b); Ex. 20,

2017 Form 10-K, at 146. The difference between the fair value of the unit based on step one, and

the fair value of its identifiable assets and liabilities determined in step two, is the implied fair

value of the remaining goodwill for the unit. Ex. 3, ASC 350-20-35-14, 16; ¶ 218(b); Ex. 20, 2017

Form 10-K, at 146. The goodwill recorded at the business segment level must then be written

down to this implied fair value, and the company takes a non-cash impairment loss in the amount

of the difference between the two. Ex. 3, ASC 350-20-35-11; Ex. 20, 2017 Form 10-K, at 146.

       Goodwill impairment testing is not a mechanical calculation.              Under the relevant

accounting standards, there are multiple different methods that can be used to calculate the fair

value of a reporting unit. Ex. 20, 2017 Form 10-K, at 146. Thus, there can be multiple different

results that would all be acceptable under GAAP. Further, even once a method of calculating fair

value has been selected, companies and auditors must still make numerous judgment calls and

assumptions. See id. Because goodwill is a non-cash asset, and not a measure of how a company

is performing at a particular point in time, short-term fluctuations in a company’s profitability do

not necessarily mean that the company’s estimate of goodwill must be impaired. Rather, a

goodwill impairment is required—indeed permitted—only when there is a determination that the

carrying value of a reporting unit exceeds its fair value and the difference between the unit’s fair

value and the fair value of its identifiable assets and liabilities is less than the recorded goodwill.

Ex. 3, ASC 350-20-35-6, 8, 9, 11, 14, 16; ¶ 218(a)-(b); Ex. 20, 2017 Form 10-K, at 146. Consistent

with GAAP, GE conducts goodwill impairment testing annually (in the third quarter), as well as

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in interim periods if circumstances change that, in its judgment, could more likely than not reduce

the fair value of a reporting unit below its carrying amount. See Ex. 3, ASC 350-20-35-30; ¶ 219;

Ex. 13, Q3 2017 Form 10-Q, at 85; Ex. 23, Q1 2018 Form 10-Q, at 73. In 2017 and 2018, GE’s

external auditor, KPMG, audited goodwill balances at year-end and reviewed them each quarter.

Ex. 20, 2017 Form 10-K, at 119; Ex. 45, 2018 Form 10-K, at 93.

       Plaintiff’s allegations relate to the goodwill balance reported for the Company’s Power

business segment for the fourth quarter of 2017 and the first two quarters of 2018. A substantial

portion of the goodwill values recorded for Power Generation, a reporting unit within Power, and

Grid Solutions, a reporting unit that later became part of Power, was initially booked in connection

with GE’s November 2, 2015 acquisition of French power company Alstom S.A.’s (“Alstom”)

Thermal, Renewables, and Grid businesses for approximately $10.1 billion. ¶¶ 4, 199; Ex. 8, 2015

Form 10-K, at 159; Ex. 39, Q3 2018 Form 10-Q, at 81. GE recognized $17.3 billion in goodwill

in connection with the transaction. ¶¶ 212-13; Ex. 11, 2016 Form 10-K, at 159. Of that,

$12.9 billion was recorded for reporting units then in GE’s Power segment. ¶ 213.

       In the second half of 2017, the global power market had slowed, signaling a risk to Power

Generation’s fair value, but GE believed that the decline was only “in the short term” and that

Power Generation’s gas turbines would still be “an important contributor to the energy mix going

forward.” See Ex. 14, Nov. 13, 2017 Update Call Tr., at 18. During this time, Mr. Flannery, who

had served as CEO of GE Healthcare since 2014, was named GE’s CEO effective August 1, 2017.

Ex. 12, June 12, 2017 GE Press Release, at 2-3 (cited at ¶ 5). GE’s ordinary goodwill impairment

testing in the third quarter showed that Power Generation’s fair value still exceeded its carrying

amount, but in light of “downturns in certain . . . customer segments” of the Power Conversion

reporting unit that were “extended”—rather than short-term—GE recognized a $947 million

goodwill impairment for Power Conversion. Ex. 13, Q3 2017 Form 10-Q, at 85.

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       In the fourth quarter of 2017, even though it had already conducted its annual goodwill

impairment testing in the previous quarter, GE performed interim impairment tests for three of its

Power reporting units because of a concern that the units’ fair values may have declined below

their carrying values due to deteriorating market conditions. Ex. 20, 2017 Form 10-K, at 84. That

testing led GE to take an additional impairment of $217 million for Power Conversion (leaving no

goodwill remaining for that unit), but the first-step analysis for Power Generation and Grid

Solutions revealed that the fair values of these units still exceeded their carrying values. Id.

Accordingly, GE did not—and was not permitted to—take impairments in those units at that time,

reporting an audited Power goodwill balance of $25.269 billion. Id. at 119, 145. However, at the

same time, GE repeatedly warned investors of the risk of a future impairment. See, e.g., id. at 106

(explaining that GE “recorded significant goodwill and other intangible assets on [its] balance

sheet” as a result of “acquisitions such as the Alstom acquisition,” and that “if [it is] not able to

realize the value of these assets [it] may be required to incur charges relating to the impairment of

these assets”). GE noted that Power Generation’s “fair value has declined” given “the overall

decline in the [p]ower market,” and that GE would “continue to monitor the [p]ower market[] and

the impact it may have on this reporting unit.” Id. at 146. That said, GE still believed that the

slowdown was temporary, Power had a plan to address slow-moving inventory, cost overruns, and

project execution challenges, and gas turbine orders and shipments were up in the quarter

compared to the prior year. See Ex. 18, Q4 2017 Earnings Call Tr., at 10-12, 15.

       In the first quarter of 2018, GE did not perform interim goodwill impairment testing, and

it reported a Power goodwill balance of $25.886 billion, which was reviewed by KPMG. See Ex.

23, Q1 2018 Form 10-Q, at 72-73. As it told investors, GE continued to believe that the power

market would improve. See Ex. 22, Q1 2018 Earnings Call Tr., at 13. In fact, GE’s industrial

margin rate increased in the first quarter of 2018, in part due to cost-cutting at Power. Id. at 3-4.

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       In the second quarter of 2018, GE again performed interim goodwill impairment testing

for the Power Generation and Grid Solutions reporting units. ¶ 273; Ex. 27, Q2 2018 Form 10-Q,

at 81. As the Company disclosed, the results of that testing indicated that fair value was in excess

of carrying value by approximately 10% for Power Generation and 9% for Grid Solutions. Ex. 27,

Q2 2018 Form 10-Q, at 81. As in prior quarters, under GAAP, GE was not permitted to take

goodwill impairments in those business units, and it reported a Power goodwill balance of $23.186

billion, which was reviewed by KPMG. Id. Moreover, GE explained to investors that it believed

the market showed signs it would improve in coming years, citing a Bloomberg report that

electricity from gas would increase by 20% by 2050. Ex. 24, June 26, 2018 Update Call Tr., at 16

(“[W]e’ve got to keep a long-term perspective, I think, on the power industry and our position in

it; and then to the challenges we’re working through right now.”). However, as in prior quarters,

GE continued to warn investors of the risk of goodwill impairment, particularly in the event that

synergies of the Company’s acquisition of Alstom were not realized. See Ex. 20, 2017 Form 10-

K, at 106; Ex. 23, Q1 2018 Form 10-Q, at 73; Ex. 27, Q2 2018 Form 10-Q, at 81.

       Ultimately, the power market further deteriorated in the second half of 2018, leading GE

to lower not only its guidance for 2018, but also its long-term power demand projections, resulting

in decreased forecasts of Power’s future earnings and cash flows. Ex. 39, Q3 2018 Form 10-Q, at

81. Because GE calculates fair value for purposes of goodwill testing based on projected cash

flows, downward revisions to GE’s long-term cash flow projections have a compounding effect.

See Ex. 3, ASC 350-20-35-3C; Ex. 45, 2018 Form 10-K, at 118-19. On October 1, 2018, GE

announced that, as a result of its third quarter goodwill impairment testing, it expected to take a

non-cash goodwill impairment charge representing “substantially all” of Power’s goodwill balance

of approximately $23 billion. See Ex. 38, Oct. 1, 2018 Press Release, at 1 (cited at ¶ 320).




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Following the announcement, GE’s stock price increased, closing on October 1 at $11.63, a 7.09%

increase over the prior business day’s price of $10.86. See Ex. 5, GE Historical Stock Price.

        On October 30, 2018, GE confirmed its earlier announced goodwill impairment charge

related to GE Power, which it then estimated would be $21.973 billion. ¶ 279; see also Ex. 45,

2018 Form 10-K, at 119 (reporting a finalized, audited charge of $22.042 billion). As GE disclosed

when explaining the impairment, it now believed that the issues with the power market would

“persist longer and with deeper impact than [it] had initially expected.” Ex. 40, Q3 2018 Earnings

Call Tr., at 4.

        C.        GE Power’s H-Class Turbine and the September 2018 Blade Failure

        Plaintiff’s other theory focuses on GE Power’s gas turbine business. Over the past 60

years, GE has grown to be the world’s largest manufacturer and supplier of gas turbine technology.

¶ 67; Ex. 7, 2014 Form 10-K, at 32-33. GE technology generates one-third of the world’s

electricity, with more than 7,500 gas turbine units operating in over 150 countries for more than

200 million hours. See Ex. 45, 2018 Form 10-K, at 14; Ex. 37, Sept. 28, 2018 Press Release, at 2

(cited at ¶ 138). Gas turbines are complex combustion engines that convert natural gas or other

liquid fuels to electrical energy that powers homes and businesses. ¶ 68; Ex. 6, Feb. 2015 GER-

3620M, at 3, 7 (cited at ¶ 103); Ex. 45, 2018 Form 10-K, at 14. GE offers several different models

of gas turbines, including the H-class turbine, which is the focus of Plaintiffs’ allegations. Ex. 6,

Feb. 2015 GER-3620M, at 46 (cited at ¶ 103); Ex. 10, Q4 2016 Earnings Call Tr., at 6.

        GE began taking orders for H-class turbines in 2014, see ¶ 70, and the first H-class turbine

entered commercial service in June 2016, see ¶ 88; Ex. 15, Dec. 4, 2017 Press Release, at 2 (cited

at ¶ 323). The H-class turbine employs GE’s most advanced technology, securing two world

records for achieving the highest gross and net combined cycle efficiency rates, due in part to

greater compressor and blade speed. ¶ 96; Ex. 28, Sept. 12, 2018 Press Release, at 2 (cited at ¶ 98).


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        In gas turbines, hot air passes through rows of spinning blades in the air flow path, and the

extreme temperatures of that air can sometimes cause a form of corrosion in the blades called

“oxidation.” ¶¶ 68, 72. In 2015, before any H-class turbines entered service, two GE customers

out of hundreds experienced oxidation issues with an older model of gas turbine (the 9FB), causing

blade breakage in one unit. ¶ 101. These blade issues were only found at that time in the F-class

series of technology—created in the 1980s—and not the H-class, which was not even in operation

yet. See Ex. 43, Jan. 25, 2019 Reuters Article, at 2 (cited at ¶ 164); Ex. 41, Dec. 3, 2018 Diesel &

Gas Turbine Article, at 1-2 (cited at ¶ 74). Following these events, GE initiated a root-cause

analysis to investigate the cause of the F-class incidents. ¶ 102. H-class units began to ship while

GE was performing its analysis of the F-class blade issue. See id.; Ex. 43, Jan. 25, 2019 Reuters

Article, at 2 (cited at ¶ 164).

        As a result of the root-cause analysis of the 2015 F-class incidents, GE worked to devise a

solution, initially evaluating whether a special coating could protect affected blades from

oxidation, see ¶¶ 102, 165, 324, and then developing a replacement component to resolve the risk

of oxidation, the “Generation II,” or “Gen II,” blade, see ¶¶ 105, 114. The Company ultimately

determined that there was a similar risk of oxidation issues in H-class turbine blades, see Ex. 43,

Jan. 25, 2019 Reuters Article, at 2 (cited at ¶ 164), and in 2017, GE developed a plan to upgrade

existing units with Gen II blades, see ¶ 105.

        In early September 2018, an H-class turbine at the Colorado Bend site of GE customer

Exelon experienced oxidation issues in a blade component, causing the blade to break. Ex. 37,

Sept. 28, 2018 Press Release, at 1 (cited at ¶ 138); Ex. 41, Dec. 3, 2018 Diesel & Gas Turbine

Article, at 1 (cited at ¶ 74). This was the first H-class turbine that suffered blade breakage. See

Ex. 42, Dec. 7, 2018 Reuters Article, at 2 (cited at ¶ 19). As a precautionary measure, GE

recommended that Exelon shut down a second turbine at that site, as well as two turbines at

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Exelon’s Wolf Hollow site, while it addressed the issue. Ex. 37, Sept. 28, 2018 Press Release, at

1 (cited at ¶ 138); Ex. 41, Dec. 3, 2018 Diesel & Gas Turbine Article, at 2 (cited at ¶ 74). Gen II

upgrades that would have prevented the blade failure had been planned for GE’s H-class units, but

Exelon’s blades had not yet been replaced. See Ex. 32, Sept. 20, 2018 Bloomberg Article, at 1-2

(cited at ¶ 121); Ex. 34, Sept. 24, 2018 Gabelli Report, at 1 (cited at ¶ 132).

       GE disclosed on September 19, 20183 that it had identified an oxidation issue expected to

impact its H-class turbines and was working proactively to address the impacted turbines, and it

confirmed the Exelon shutdown the following day. Ex. 29, Sept. 20, 2018 Reuters Article, at 1-2

(cited at ¶ 119). Just over one week later, two of the four Exelon units were back online with new

blades, ahead of schedule. Ex. 37, Sept. 28, 2018 Press Release, at 1-2 (cited at ¶ 138). Exelon

stated that GE was “quick, thorough and consistent” and that it “fe[lt] confident about the

replacement product,” noting that “with any new technology in our industry—especially

something as groundbreaking as the HA—there is an expectation that adjustments will be made

along the way.” Ex. 41, Dec. 3, 2018 Diesel & Gas Turbine Article, at 2 (cited at ¶ 74); see also

Ex. 32, Sept. 20, 2018 Bloomberg Article, at 2 (cited at ¶ 121) (quoting Exelon as stating, “You

have some growing pains, you have some startup challenges. General Electric and Exelon realize

that.”). At the time, analysts noted that “it [was] still too early to quantify the financial impact” of




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        See Russell Stokes, Making The Best Turbines Is Hard Enough. At GE, We Never Stop
Making Them Better, LINKEDIN (Sept. 19, 2018), https://www.linkedin.com/pulse/making-best-
turbines-hard-enough-ge-we-never-stop-them-russell-stokes/; Tomas Kellner, Cooking With Gas:
This New GE Turbine Is Lighting Up The Future Of Power Generation, GE REPORTS (Sept. 19,
2018), https://www.ge.com/reports/cooking-gas-new-ge-turbine-lighting-future-powergeneration;
see also Ex. 34, Sept. 24, 2018 Gabelli Report, at 1 (cited at ¶ 132) (“There was a post on ‘GE
Reports’ on September 19th, and also on Power CEO Russell Stokes’ LinkedIn page, which
indicated that an HA turbine at a power plant encountered an oxidation issue that affects the
lifespan of a single blade component.”).


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the now more urgent repairs that would preempt the oxidation issue in other H-class units. E.g.,

Ex. 36, Sept. 27, 2018 RBC Capital Markets Report, at 1 (cited at ¶ 137).

       On October 30, 2018, GE announced its third quarter 2018 results, which included an

approximately $240 million charge related to the oxidation issue, resulting in increased warranty

and maintenance reserves.4 ¶¶ 152, 180; Ex. 39, Q3 2018 Form 10-Q, at 16. To put that charge

in perspective, Power had $5.7 billion in revenues in the third quarter of 2018, GE’s consolidated

revenues were $29.6 billion in the same quarter, and the 82 H-class turbines ordered as of

September 2018 each produced about $60 million in revenue, for $4.92 billion total. Ex. 39,

Q3 2018 Form 10-Q, at 9, 14; ¶ 75; Ex. 35, Sept. 25, 2018 Motley Fool Article, at 2 (cited at ¶ 303).

GE continued replacing blades into early 2019, and in spite of the disclosed oxidation issues, GE

received more H-class orders than anticipated at the start of that year. See Ex. 44, Q4 2018

Earnings Call Tr., at 19; Ex. 46, Q1 2019 Earnings Call Tr., at 14.

       D.      Plaintiff’s Putative Class Action

       Two putative class actions were filed and subsequently consolidated into the above-

captioned case before this Court. On June 21, 2019, Plaintiff filed the AC, which includes a

putative class period of December 4, 2017 to December 6, 2018 (the alleged “Class Period”).

                                          ARGUMENT

I.     THE AC FAILS TO PLEAD A SECTION 10(B) CLAIM

       To assert a Section 10(b) claim, Plaintiff must plead facts showing, inter alia, (i) a material

misrepresentation or omission, (ii) scienter, and (iii) loss causation. See Lucescu, 2018 WL

1773134, at *6. In addition to the requirements under Bell Atlantic Corp. v. Twombly, 550 U.S.



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        Power also recognized charges of approximately $400 million “associated with an increase
in issues on our existing projects driven by execution as well as partner and customer challenges,”
which were for expenses unrelated to the oxidation issue. See Ex. 39, Q3 2018 Form 10-Q, at 16.


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544, 570 (2007), and Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), that Plaintiff allege facts

establishing a “plausible” claim, Plaintiff must also satisfy the heightened pleading requirements

of both Rule 9(b) and the Private Securities Litigation Reform Act (“PSLRA”). See Dingee v.

Wayfair Inc., 2016 WL 3017401, at *3 (S.D.N.Y. May 24, 2016) (Cote, J.). Under the PSLRA,

Plaintiff must (i) “specify each statement alleged to have been misleading [and] the reason or

reasons why the statement is misleading”; and (ii) “with respect to each [alleged] act or omission

. . . state with particularity facts giving rise to a strong inference that the defendant acted with the

required state of mind” (scienter). See 15 U.S.C. §§ 78u-4(b)(1), (2). Here, the AC does not plead

particularized facts that establish that any Defendant made any misstatement or omission of a

material fact or acted with scienter, or that the alleged fraud caused any losses.

       A.       Plaintiff Fails Adequately to Plead a False or Misleading Statement

       Plaintiff hinges its claims on the reported goodwill balances for GE’s Power segment in its

Form 10-K for 2017 and Forms 10-Q for the first and second quarters of 2018, as well as a series

of statements by Defendants regarding the technology, performance, and commercial potential of

GE’s H-class turbines.5 But Plaintiff “must do more” than allege a statement is false in a

conclusory fashion, it “must demonstrate with specificity why and how that is so.” Rombach v.

Chang, 355 F.3d 164, 174 (2d Cir. 2004). The AC does not meet this basic requirement.

       As an initial matter, the AC identifies only isolated statements with respect to several

Individual Defendants. See Ex. 2, App’x of Alleged Misstatements. For example, the only alleged

misstatements attributed to Mmes. Miller and Hauser are the goodwill balances reported in the




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       A table identifying the challenged statements, alleged speakers, and the reasons why each
challenged statement is not actionable is attached as Exhibit 2. See Fogel v. Wal-Mart de México
SAB de CV, 2017 WL 751155, at *18 (S.D.N.Y. Feb. 27, 2017) (accepting appendices that serve
as “organizational tools”).


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Company’s public filings, see, e.g., ¶¶ 51-52; Plaintiff does not even attempt to attribute any

misstatements to them regarding H-class turbines. Along the same lines, the AC alleges that the

only instances in which Messrs. Strazik or Mastrangelo made a supposed misstatement occurred

in two disparate press releases issued by the Company regarding the H-class turbine, and it never

alleges that they made any statements regarding the Company’s reported goodwill. See ¶¶ 323,

353. Likewise, the AC alleges that Mr. Nugent made only two supposed misstatements, once in a

press release and once in a news article, both of which discussed the H-class turbine. ¶¶ 345, 353.

       Left grasping at straws, Plaintiff seeks to hold all of the Individual Defendants liable under

the unworkable theory that the allegedly false statements challenged in the AC were “group-

published” information and the result of their “collective actions.” See ¶ 57. But the group-

pleading doctrine did not survive the PSLRA. See In re Banco Bradesco S.A. Sec. Litig., 277 F.

Supp. 3d 600, 637-41 (S.D.N.Y. 2017) (concluding that “especially in light of the particularity

requirements imposed on securities fraud pleadings . . . the group-pleading/group-published

documents doctrine . . . is [] no longer viable”). And in any event, regardless of their maker, as

set forth below, none of the alleged misstatements supports a claim for securities fraud.

               1.      Defendants’ Estimates of Goodwill Are Non-Actionable Opinions

       Plaintiff alleges that goodwill balances reported for GE’s Power segment during the Class

Period were false and misleading because the “fair value of GE Power’s reporting units had

declined significantly as of the fourth quarter of 2017,” and goodwill was thus “vastly overstated.”

See, e.g., ¶¶ 221, 333-34, 337-38, 341-42.       But—as this Court’s recent decision regarding

plaintiffs’ analogous theory in Lucescu instructs—Plaintiff’s conclusory allegations fail to meet

fundamental pleading standards. See 2018 WL 1773134.

       Estimates of goodwill “depend on management’s determination of the ‘fair value’ of the

assets acquired and liabilities assumed, which are not matters of objective fact.” Fait v. Regions


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Fin. Corp., 655 F.3d 105, 110 (2d Cir. 2011). As such, goodwill balances are quintessential

opinion statements, for which Plaintiff must satisfy the pleading standards articulated in Omnicare.

See Lucescu, 2018 WL 1773134, at *7; Omnicare, Inc. v. Laborers Dist. Council Constr. Indus.

Pension Fund, 135 S. Ct. 1318, 1327, 1332 (2015). As this Court has cautioned, that is “no small

task.” Lucescu, 2018 WL 1773134, at *7. To avoid dismissal, a plaintiff arguing that a defendant

failed to record an impairment charge properly—like Plaintiff here—must “‘point to objective

standard[s] such as market price’ that the plaintiff claims defendants ‘should have but failed to use

in determining the value’ of the company’s assets.” Id. Absent such a showing, Plaintiff must

plausibly allege with particularity facts showing that Defendants did not genuinely believe GE’s

goodwill balances were accurate at the time they were reported. Id. The AC alleges no such facts.

       First, although Plaintiff alleges that GE did not conduct an accurate assessment of

goodwill, see ¶¶ 334, 338, 342, it does not “point to objective standard[s]” that GE “should have

but failed to use in determining” the fair value of Power’s assets. Lucescu, 2018 WL 1773134, at

*7. Nor does Plaintiff allege with any particularity how and when GE’s interim impairment testing

should have led it to take an impairment charge sooner or the specific amount of any such interim

charge that should have been taken. See, e.g., City of Sterling Heights Police & Fire Ret. Sys. v.

Vodafone Grp. Pub. Ltd., 655 F. Supp. 2d 262, 269-70 (S.D.N.Y. 2009) (dismissing claim that

“fail[ed] to allege at what point in time an impairment charge should have been taken and which

specific losses known to the Company should have triggered [it]”). Specifically, nowhere does

Plaintiff allege that the Company’s long-term business projections for GE Power—which Plaintiff

concedes drive goodwill impairment testing—should have been reduced at any point in time by

any specific amount, prior to the third quarter of 2018. See, e.g., ¶¶ 222-24 (acknowledging that

GE’s goodwill impairment testing relies on “internal forecasts of future cash flows that are opaque

to investors” and discounted cash flow analyses).

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       Instead, Plaintiff relies on various short-term Power performance declines observed (and

disclosed) by GE throughout the Class Period, ¶¶ 229-73, to support its allegation that GE should

have reduced its long-term projections for Power earlier that it did, ¶¶ 221, 283, 334, 338, 342.

But as GE disclosed, the downturn in the power market was still developing during the Class

Period, and the expected duration and severity of that downturn was unknown. See, e.g., Ex. 22,

Q1 2018 Earnings Call Tr., at 13 (noting that the Company continued to believe that the power

market would improve). Plaintiff also alleges that GE should have concluded earlier than it did

that synergies would not materialize from the Alstom acquisition, in part due to GE’s forecasted

declining demand for gas turbines and related upgrades in 2018 versus 2017. ¶¶ 221, 230-33. But

merely pleading facts that allegedly “should have” led Defendants to take an impairment charge

sooner plainly does not suffice. Lucescu, 2018 WL 1773134, at *8.

       Second, Plaintiff pleads no facts—based on the statements of confidential witnesses,

internal documents, or otherwise—that would establish that any Defendant did not believe that

GE’s goodwill balances were accurate at the time they were made. Plaintiff speculates that, based

on certain adverse market- or GE-specific trends and the size of the ultimate impairment charge,

GE’s reported goodwill balances must have been inaccurate. ¶¶ 221, 230, 232, 237-39, 244-46,

261, 263-64, 266. But the AC does not and cannot plead that these adverse trends led any

Defendant to believe that GE’s goodwill estimates were incorrect. Lucescu, 2018 WL 1773134,

at *12 (“Even if [Defendants] knew of facts that cut against the representations of . . . goodwill,

that does not make the statements, which are statements of opinion, false or misleading.”); see also

In re Express Scripts Holding Co. Sec. Litig., 2018 WL 2324065, at *8-9 (S.D.N.Y. May 22, 2018)

(“[E]ven if plaintiff had plausibly plead facts to show that [the] accounting treatment should have

been different, [it had] not allege[d] that Defendants ‘did not believe’ that the accounting treatment

was appropriate during the Class Period; and therefore [did] not state[] a claim.”). Indeed, Plaintiff

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is unable to contest that—in response to certain changed circumstances—GE conducted interim

impairment testing during the Class Period, and concluded in each instance that impairment was

not permitted. See ¶¶ 229, 265;6 see also City of Omaha, Neb. Civilian Emps.’ Ret. Sys. v. CBS

Corp., 679 F.3d 64, 68 (2d Cir. 2012) (reasoning that various allegations of the “downward

trajectory” of a company’s overall market capitalization, its “declining . . . revenues,” “analysts’

expectations regarding the [relevant] business environment,” and its own “anticipation of an

economic slowdown” suggested only that defendants were “overly optimistic,” not that they knew

or should have known that impairment testing would reveal that goodwill was overvalued).

       For these exact reasons, just weeks ago, the New York Supreme Court rejected a

shareholder lawsuit premised on GE’s alleged failure to recognize sooner its October 2018

impairment charge. See Decision & Order at 11-12, Trueblood v. Culp et al., No. 655552/2018

(July 3, 2019), Doc. #27. Dismissing the plaintiff’s claim based on allegations nearly identical to

those in the AC, the New York Supreme Court held that the complaint did not “plausibly allege

that defendants did not believe the statements regarding goodwill at the time they made them,”

and “failed to allege any specific instances where . . . Defendants acted in bad faith or [to] include

an allegation that could plausibly be read to infer bad faith.” Id. at 11. The same is true here. At

bottom, Plaintiff pleads nothing more than a hindsight disagreement with GE’s impairment

analysis, and allegations that a defendant should have taken a more significant and earlier write-

down are insufficient to plead fraud. See, e.g., In re UBS AG Sec. Litig., 2012 WL 4471265, at

*19 (S.D.N.Y. Sept. 28, 2012), aff’d sub nom. City of Pontiac Policemen’s & Firemen’s Ret. Sys.


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        The remainder of Plaintiff’s allegations rest upon the speculation of a former SEC
Chairman regarding the size of GE’s ultimate impairment charge, ¶¶ 37, 286, and an accounting
expert’s inability to “recall any other situation” where goodwill recognized exceeded the purchase
price of a company, ¶ 208, which speak to neither GE’s actual goodwill impairment testing, nor
any Defendant’s state of mind.


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v. UBS AG, 752 F.3d 173 (2d Cir. 2014) (“[M]ere allegations that statements in one report should

have been made in earlier reports do not make out a claim of securities fraud.”).

       Finally, Plaintiff also ignores that leading up to and throughout the Class Period, GE

warned investors of the risks of a potential impairment charge, particularly if expected synergies

from the Alstom acquisition did not materialize or market demand continued to decline. In

connection with its annual goodwill impairment testing for 2017, for instance, GE told investors

that with respect to Grid Solutions, a reporting unit formed as a result of the Alstom acquisition,

“there could be an impairment in the future,” particularly “if expected synergies of the acquisition

with Alstom are not realized or if the reporting unit was not able to execute on customer

opportunities.” See, e.g., Ex. 13, Q3 2017 Form 10-Q, at 85. Likewise, in connection with the

disclosure of the results of its interim goodwill impairment testing in the following quarter, GE

warned investors that “[a]s a result of [the Alstom acquisition] and other acquisitions over time,

we have recorded significant goodwill and other intangible assets on our balance sheet, and if we

are not able to realize the value of these assets we may be required to incur charges relating to the

impairment of these assets.” Ex. 20, 2017 Form 10-K, at 106. Because “the 2017 Form 10-K

warned of future impairments in the event the synergies from the Alstom acquisition were not

realized,” Plaintiff cannot “claim surprise at the October 2018 announcement.” See, e.g., Decision

& Order at 14, Trueblood, Doc. #27.7 Accordingly, the AC fails to establish the falsity of the

goodwill reported for GE’s Power segment.



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        See also, e.g., Ex. 23, Q1 2018 Form 10-Q, at 73 (warning investors that “the Power and
Oil & Gas markets continue to be challenging and there can be no assurances that goodwill will
not be impaired in future periods as a result of sustained declines in macroeconomic or business
conditions affecting our reporting units”); Ex. 27, Q2 2018 Form 10-Q, at 81 (warning investors
that “the Power and Oil & Gas markets continue to be challenging which could result in changes
in our projected future earnings and net cash flows at these businesses”).


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               2.      Defendants’ Statements Regarding H-Class Turbines Were Not False or
                       Misleading

       Plaintiff also fails to plead an actionable misstatement or omission by Defendants regarding

GE’s H-class turbines: Defendants’ statements of fact were true when made, they had no duty to

disclose developing oxidation issues (even though they did so within days of the first and only

incident of blade failure in an H-class turbine), and their corporate optimism, opinions, and

forward-looking statements (which, prior to the Exelon blade failure, had nothing to do with

oxidation) are all inactionable under well-settled law.

                       a.      Defendants Made No False Statements Regarding the Quality,
                               Operational Success, or Commercial Potential of H-Class Turbines

       Relying almost exclusively on thinly sourced news articles and analyst speculation,

Plaintiff alleges that Defendants’ statements regarding the general quality, operational success, or

commercial potential of the H-class turbine were false or misleading because, according to

Plaintiff, the H-class turbine suffered from “systemic manufacturing defects” that led to oxidation

in its blades, which “eliminat[ed] the benefits” of its efficiency. E.g., ¶ 324; see also ¶¶ 323, 325,

327, 329, 331, 335, 339, 343, 347, 345, 353. These allegations fail for multiple reasons.

       First, Plaintiff fails to identify a single false statement of fact. For example, Plaintiff

challenges GE’s statement that the “[t]he new [H-class] combustion system ha[d] already been

successfully tested at full-load and full-speed at GE’s test stand in Greenville, South Carolina,”

¶ 323, but nowhere alleges that such combustion system testing did not actually occur or that the

results were unsuccessful. Likewise, Plaintiff challenges statements that GE’s HA fleet had

achieved “more than 175,000 operating hours” and that “Exelon’s HA-powered Wolf Hollow II

project was honored as Power Engineering’s Best Gas-Fired Project in 2017,” ¶ 343, but does not

(and cannot) allege that the HA fleet did not achieve those operating hours or that the project did

not receive that award. Accurate statements regarding the H-class turbine’s accomplishments


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cannot serve as the basis for a fraud claim. See Pollio v. MF Glob., Ltd., 608 F. Supp. 2d 564, 571

(S.D.N.Y. 2009) (“It is well-established . . . that defendants may not be held liable under the

securities laws for accurate reports of past successes, even if present circumstances are less rosy.”);

see also, e.g., ¶ 327 (challenging the statement that “the [C]ompany also [wa]s innovating with

advances in cooling and sealing, improved aerodynamics, and the use of materials and coatings

designed for use in higher temperatures, including ceramic material composites,” but failing to

provide any facts suggesting that it was not, in fact, innovating in those areas), ¶ 329 (challenging

the statement that H-class technology was “operating in line with performance guarantees,” but

failing to identify how the technology failed to operate in line therewith).

       Indeed, the majority of the statements challenged by Plaintiff are not statements of fact at

all, but expressions of corporate optimism that are inactionable because they are “too general to

cause a reasonable investor to rely upon them.” In re Austl. & N.Z. Banking Grp. Ltd. Sec. Litig.,

2009 WL 4823923, at *11 (S.D.N.Y. Dec. 14, 2009) (Cote, J.) (“Simple expressions of puffery

and corporate optimism do not violate securities laws, as companies are not required to take a

gloomy, fearful or defeatist view of the future.”). Plaintiff challenges statements that GE Power

was a “fundamentally strong franchise with leading technology,” ¶ 339, and had a track record

demonstrating it could “improve output, reliability, and performance” of turbines when it serviced

them, id.; that “HA technology enables the power plant of the future, delivering unprecedented

levels of efficiency and reliability that can help countries everywhere meet today’s power demands

and reach more aggressive emissions goals,” ¶ 335; or that there was “nothing like [the H-class

turbine] in operation today,” ¶ 353; see also ¶¶ 323, 325, 327, 329, 331, 343, 345, 349; Ex. 2,

App’x of Alleged Misstatements. Courts routinely have concluded, however, that nearly identical

statements touting a product and operational successes are inactionable as a matter of law. See,

e.g., Pearlstein v. Blackberry Ltd., 93 F. Supp. 3d 233, 240-41 (S.D.N.Y. 2015) (statements

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expressing positive outlook regarding rollout of new product constituted inactionable puffery); In

re Razorfish, Inc. Sec. Litig., 2001 WL 1111502, at *3 (S.D.N.Y. Sept. 21, 2001) (statements that

company was “successfully executing our growth strategy” and “do[ing] an outstanding job” were

“classic expressions of optimism [or] puffery of the kind that cannot possibly support a securities

fraud claim”).

       Second, Plaintiff’s allegations that Defendants’ optimistic statements regarding the H-class

turbine’s quality or technology were misleading because they purportedly omitted material facts

about “systemic” issues impacting its blade components likewise miss the mark. As an initial

matter, nothing in the news articles or analyst reports cited by Plaintiff supports its narrative that

the H-class turbine’s technology is fundamentally flawed or that the product was destined to fail—

and, in fact, the allegations in the AC show precisely the opposite. As Plaintiff concedes, GE

proactively worked to identify a solution for the affected blade component in H-class turbines, see,

e.g., ¶¶ 105, 114, 120, 129-30, 139; Ex. 41, Dec. 3, 2018 Diesel & Gas Turbine Article, at 2-3

(cited at ¶ 74), and recorded $240 million (which constitutes less than 1% of GE’s 2018 annual

revenue) to increase associated warranty and maintenance reserves, see ¶¶ 152, 180; Ex. 40, Q3

2018 Earnings Call Tr., at 5, 10. And since these oxidation issues arose and were resolved, GE

has received more orders for H-class turbines than anticipated. See Ex. 46, Q1 2019 Earnings Call

Tr., at 14. Plaintiff relies on speculation about the risk that the blade oxidation issue would harm

GE Power’s brand or market share, e.g., ¶ 124, and scattered complaints from unidentified

customers allegedly impacted by the oxidation issue, e.g., ¶¶ 112-15, rather than pleading any facts

showing internally-known blade defects so significant that they would permanently undermine the

value of all H-class turbines, see, e.g., ¶¶ 14, 107-27, 132, 134, 137, 140-50, 159-61, 164-68.

       Third, Plaintiff fails to allege that Defendants had any duty to disclose potential oxidation

issues impacting the H-class turbine earlier than they did. Under the securities laws, issuers are

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not required to make continuous disclosure. See, e.g., Police & Fire Ret. Sys. of Detroit v. La

Quinta Holdings Inc., 2017 WL 4082482, at *9 (S.D.N.Y. Aug. 24, 2017) aff’d, 735 F. App’x 11

(2d Cir. 2018) (“‘A company is generally not obligated to disclose internal problems because the

securities laws do not require management to bury the shareholders in internal details and because

public disclosure of internal management and engineering problems falls outside the securities

laws.’”) (quoting In re N. Telecom Ltd. Sec. Litig., 116 F. Supp. 2d 446, 459 (S.D.N.Y. 2000)).

Equally important, “[t]aking the time necessary to get things right is both proper and lawful.

Managers cannot tell lies but are entitled to investigate for a reasonable time, until they have a full

story to reveal.” Slayton v. Am. Express Co., 604 F.3d 758, 777 (2d Cir. 2010) (quoting

Higginbotham v. Baxter Int’l Inc., 495 F.3d 753, 761 (7th Cir. 2007)); see also In re Agnico-Eagle

Mines Ltd. Sec. Litig., 2013 WL 144041, at *21 (S.D.N.Y. Jan. 14, 2013), aff’d sub nom. Forsta

AP-Fonden v. Agnico-Eagle Mines Ltd., 533 F. App’x 38 (2d Cir. 2013) (defendants “were entitled

to devote a reasonable amount of time to investigation and remediation before disclosing an

assessment of the [] situation any gloomier than that contained in its July and October 2011

disclosures”); Plumbers & Pipefitters Local Union 719 Pension Fund v. Zimmer Holdings, Inc.,

673 F. Supp. 2d 718, 738 (S.D. Ind. 2009) (“It is difficult to see how Defendants’ decision to

investigate quality systems problems further before fully disclosing them . . . was improper, never

mind actionable . . .”), aff’d, 2012 WL 1813700 (7th Cir. May 21, 2012).

       These principles are well-illustrated here. Plaintiff’s allegations show (at most) that during

the Class Period, GE was investigating oxidation issues affecting blade components in its gas

turbines, and working on possible fixes. Indeed, Plaintiff cites to news articles describing blade

oxidation issues impacting two GE F-class turbines in 2015, see, e.g., ¶¶ 19, 119-20, 164-68, 324,

which “prompted GE to work on new protective coatings and alter a heat treatment process for the

parts.” See, e.g., Ex. 43, Jan. 25, 2019 Reuters Article, at 2 (cited at ¶ 164). Rather than support

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Plaintiff’s claims that GE was aware of and concealed “catastrophic” blade issues impacting H-

class turbines,8 Plaintiff’s own cited articles maintain that “after the blade [in the 9FB turbine]

broke in 2015, GE did not know at first that the [oxidation] problem would also afflict its HA

models,” and that when GE became aware that H-class turbines may be similarly impacted, it was

“working on [a] solution” before the September 2018 Exelon incident unexpectedly occurred. Id.;

Ex. 30, Sept. 20, 2018 WSJ Article, at 3 (cited at ¶ 120); see Williams v. Citibank, N.A., 565 F.

Supp. 2d 523, 527 (S.D.N.Y. 2008) (“The court need not accept as true an allegation that is

contradicted by documents on which the complaint relies.”).

       When the Exelon incident occurred, GE confirmed the turbine shutdowns, then voluntarily

disclosed that a similar oxidation issue may impact other H-class turbines, and later increased its

reserves by approximately $240 million in response to the issue. See ¶¶ 119, 180; supra n.3; Ex.

29, Sept. 20, 2018 Reuters Article, at 1-2 (cited at ¶ 119); Ex. 40, Q3 2018 Earnings Call Tr., at 5,

10. Plaintiff does not allege any facts demonstrating any reason for GE to conclude that blade

failures in H-class turbines would occur before GE could complete its planned replacements, or

that oxidation issues affecting a single component would otherwise pose any threat to the H-class



8
         Plaintiff attempts to conflate the oxidation issue with other routine operational challenges
in an effort to make the H-class’s oxidation issue appear more significant than it is. Plaintiff claims
that in January 2017, GE Power issued a technical information letter (“TIL”) to F-class customers
in connection with the oxidation issue providing revised usage guidelines. ¶ 171. But the TIL that
Plaintiff cites instead describes a “contamination” issue that was introduced into certain 7F and 9F
units through repairs—one that has nothing to do with oxidation caused by “coating fail[ures]” or
“insufficient cooling air circulat[ion].” Compare ¶¶ 72, 102, 105 with Ex. 9, TIL 2024 (cited at
¶ 171 n.2). Plaintiff also references coverage of “vibration” and other unrelated issues in turbines
operated by the Pakistani government, speculating that they “may be linked” to oxidation, see,
e.g., ¶ 106, but the sources upon which it relies confirm that they were totally unrelated. See, e.g.,
Ex. 16, Dec. 27, 2017 Reuters Article, at 1, 3 (cited at ¶ 107) (discussing delayed deliveries due to
further testing, a combustion seal leak, and damage due to batteries and generator back-ups that
failed during a power outage, and also noting that there was “no evidence” that H-class turbines
had “fundamental design flaws”).


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turbine’s overall success. Accordingly, Plaintiff’s allegations are insufficient to sustain a claim of

securities fraud. See In re Elan Corp. Sec. Litig., 543 F. Supp. 2d 187, 217 (S.D.N.Y. 2008)

(“Defendants are permitted a reasonable amount of time to evaluate potentially negative

information and to consider appropriate responses before a duty to disclose arises.”).

       Tellingly, Plaintiff nowhere even attempts to allege that GE should have recorded charges

for H-class turbine maintenance and upgrades earlier than it did, or that the reserves GE has are

insufficient to address the issue.9 That further undermines any argument that Defendants ever

were obligated to disclose potential oxidation issues, or—once voluntarily disclosed in connection

with the Exelon shutdown—express doubt about GE’s ability to resolve these issues. See, e.g.,

Okla. Firefighters Pension & Ret. Sys. v. Xerox Corp., 300 F. Supp. 3d 551, 577 (S.D.N.Y. 2018),

aff’d sub nom. Arkansas Pub. Emps. Ret. Sys. v. Xerox Corp., 2019 WL 2394302 (2d Cir. June 6,

2019) (company did not have a duty to disclose the implementation challenges it was confronting

until those challenges had ripened); accord In re Bausch & Lomb, Inc. Sec. Litig., 592 F. Supp. 2d

323, 348 (W.D.N.Y. 2008) (no duty to disclose until information “provide[s] statistically

significant evidence that the ill effects may be caused by—rather than randomly associated with—

use of the drugs and are sufficiently serious and frequent to affect future earnings.”).10


9
        Indeed, rather than pleading any facts needed to support such allegations, Plaintiff
misconstrues the charges taken by GE in connection with Power’s service agreements in an effort
to make the oxidation issue seem more costly than it was. Compare, e.g., ¶ 180 (incorrectly
implying that a $400 million charge taken by GE in the fourth quarter of 2018 was reserved solely
for the oxidation issue), with, e.g., Ex. 44, Q4 2018 Earnings Call Tr., at 8, 19 (explaining that the
charge was the result of “normal cost standard updates, which included updates to our cost
standards, including the impact of the stage 1 blade issue” and noting that “there are a host of
elements [to] that update, not just the blade”).
10
        Several statements challenged in the AC regarding H-class turbines are also inactionable
as genuinely held opinions, see Omnicare, 135 S. Ct. at 1322, 1327, 1332; see, e.g., ¶¶ 323
(challenging statement that “[a]ccording to GE Power’s estimates, an additional percentage point
of efficiency in gas turbines can translate to millions in fuel savings”), ¶ 345 (challenging
statements by Mr. Nugent that “concerns [regarding the oxidation issue] were overblown,” that

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                       b.      Defendants Made No False Statements Regarding GE’s Response
                               to the September 2018 Blade Failure

       Plaintiff also alleges that statements regarding GE’s response to the September 2018 blade

failure at Exelon were misleading because they falsely “reassured investors that the problem was

solved and it had a fix.” See, e.g., ¶¶ 346, 348, 350, 352, 354. But Plaintiff again pleads no facts,

apart from the speculation of analysts and anonymous customers referenced in news coverage, see,

e.g., ¶¶ 17, 113-14, suggesting that Defendants misspoke about the Company’s response to the

incident, concealed a bigger problem, or should have concluded that its Gen II blades would not

resolve the issues. See In re Optionable Sec. Litig., 577 F. Supp. 2d 681, 690 (S.D.N.Y. 2008)

(“Conclusory allegations of wrongdoing are no more sufficient if they come from a newspaper

article than from plaintiffs’ counsel.”). GE itself disclosed that it would need to upgrade H-class

turbines with Gen II blades, see, e.g., Ex. 31, Sept. 20, 2018 J.P. Morgan Analyst Report, at 2-3

(cited at ¶ 124), and (as discussed) Plaintiff has yet to explain why Defendants should have doubted

the efficacy of those upgrades or concluded that the need therefor would make the turbines any

less innovative, efficient, or reliable overall or in the long term. And indeed, Defendants’

statements regarding GE’s “fix” for oxidation issues in the H-class turbine were indisputably true:

the Gen II blades did resolve the oxidation issues and they were used to repair Exelon’s turbines—

in some cases, ahead of schedule. See Ex. 37, Sept. 28, 2018 Press Release, at 1-2 (cited at ¶ 138);




“the [H-class] turbine’s performance ha[d] been highly reliable,” and that he was “confident this
[wa]s not a significant issue from a customer perspective”); see also, e.g., ¶¶ 325, 329, 331, 335,
339, 343, 347, 349, 351, 353; or as forward-looking statements protected by the PSLRA, In re
Aratana Therapeutics Inc. Sec. Litig., 315 F. Supp. 3d 737, 758 (S.D.N.Y. 2018); see, e.g., ¶ 331
(“We are expecting the markets to be less than the [sic] 35 gigawatts in 2017 and we are preparing
our restructuring plans for a market that could be as low as 30 gigawatts in 2018.”), ¶ 339 (“We
have a 20-year plus track record that demonstrates we can improve output, reliability, and
performance of those assets when we service them.”); see also Ex. 2, App’x of Alleged
Misstatements.


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see ¶ 105 (alleging that, as early as 2017, the Company was in the process of “inspecting

customer’s H-class turbine blades and planning to repair or replace them”).

       For the foregoing reasons, Plaintiff has failed to allege Defendants made any false or

misleading statements regarding either GE’s reported goodwill balances or its H-class turbines.11

       B.      Plaintiff Fails Adequately to Plead a Strong Inference of Scienter

       The AC is devoid of cognizable motives or contemporaneous information—in the form of

internal documents or confidential sources with any knowledge of the issues Plaintiff claims were

misrepresented, let alone what any Defendant allegedly knew about them—contradicting

Defendants’ statements when made. As such, the AC should be dismissed for the independent

reason that Plaintiff fails completely to establish the requisite “strong inference” of scienter—i.e.,

an “intent to deceive, manipulate, or defraud”—as to each Defendant and each alleged

misstatement. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 319 (2007); 15 U.S.C.

§ 78u-4(b)(2). “To meet the ‘strong inference’ standard, it is not sufficient to set out ‘facts from

which, if true, a reasonable person could infer that the defendant acted with the required intent,’

for that gauge ‘does not capture the stricter demand Congress sought to convey . . . .’” S. Cherry

St., LLC v. Hennessee Grp. LLC, 573 F.3d 98, 110-11 (2d Cir. 2009) (emphasis in original)


11
        Along the same lines, the AC also alleges, again in conclusory fashion, that Defendants
violated Item 303 of Regulation S-K because they knew that the Company’s H-class turbines
represented a known risk and uncertainty to its financials and/or that reduced cash flow projections
would (allegedly) lead to a major goodwill impairment and a major dividend reduction. See
¶¶ 355-57. As explained above, however, Plaintiff provides no particularized facts to call into
question any statements regarding H-class turbines, or the goodwill balances reported for GE’s
Power segment. Likewise, GE provided warnings of the risks and uncertainties Plaintiff claims
were concealed. See, e.g., Ex. 11, 2016 Form 10-K, at 122 (explaining that “there can be no
assurance that we or our customers or other third parties will not experience operational process
failures or other problems” that “could have a material adverse effect on our business”); Ex. 20,
2017 Form 10-K, at 106 (noting that Power Generation’s “fair value has declined” given “the
overall decline in the [p]ower market,” and that GE would “continue to monitor the [p]ower
market[] and the impact it may have on this reporting unit”).


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(quoting Tellabs, 551 U.S. at 314). Instead, to be “strong,” the inference of scienter must be “more

than merely plausible or reasonable—it must be cogent and at least as compelling as any opposing

inference of nonfraudulent intent.” Tellabs, 551 U.S. at 314. A strong inference of scienter can

be established by alleging facts showing either (i) defendants’ “motive and opportunity to commit

fraud,” or (ii) “strong circumstantial evidence of conscious misbehavior or recklessness.” ECA v.

J.P. Morgan Chase Co., 553 F.3d 187, 198 (2d Cir. 2009). The AC fails to plead either.

               1.      Plaintiff Has Not Pled a Cognizable Motive

       Plaintiff cannot establish scienter through motives “‘common to most corporate officers.’”

See Total Equity Capital LLC v. Flurry, Inc., 2016 WL 3093993, at *5 (S.D.N.Y. June 1, 2016)

(quoting ECA, 553 F.3d at 198); accord Hensley v. IEC Elecs. Corp., 2014 WL 4473373, at *4

(S.D.N.Y. Sept. 11, 2014). As the Second Circuit has long recognized, if such motives were

sufficient, “virtually every company in the United States that experiences a downturn in stock price

could be forced to defend securities fraud actions.” Acito v. IMCERA Grp., Inc., 47 F.3d 47, 54

(2d Cir. 1995). Instead, Plaintiff must plead a “concrete and personal benefit” by each Defendant

from any purported fraud. Kalnit v. Eichler, 264 F.3d 131, 139 (2d Cir. 2001). Plaintiff fails to

do so. Indeed, the AC even lacks allegations of stock sales by senior executives—an “ordinary”

hallmark of securities fraud. Novak v. Kasaks, 216 F.3d 300, 308 (2d Cir. 2000).

       First, Plaintiff alleges that Defendants were motivated by their general desire to “maintain

the appearance” that (i) GE, and/or its Power segment, were financially strong; and (ii) the 50%

dividend reduction GE announced in November 2017 was sufficient. See, e.g., ¶¶ 33, 97, 186,

188-89, 236, 310, 312. But “[a]ction taken to maintain the appearance of corporate profitability,

or of the success of an investment . . . does not entail concrete benefits sufficient to demonstrate

motive.” Rombach, 355 F.3d at 177; see also ECA, 553 F.3d at 200 (desire to maximize corporate

profits “actually benefits the shareholders” and “it would be an unusual case” where that objective


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gives rise to a strong inference of scienter). Furthermore, GE’s prior 50% dividend reduction

announced in November 2017 (under one month before the Class Period), runs counter to

Plaintiff’s theory that GE was motivated to maintain an appearance of inflated financial strength.12

       Second, Plaintiff alleges that Defendants engaged in fraud to maintain GE’s credit rating,

see, e.g., ¶¶ 33, 303-06, which also does not qualify as a cognizable motive. See S. Cherry St., 573

F.3d at 109 (“desire to maintain a high credit rating” is a goal “possessed by virtually all corporate

insiders” and is not sufficient to show fraudulent intent).

       Third, Plaintiff suggests that some Individual Defendants concealed facts regarding their

“signature project[s]” or delayed disclosures to avoid their own terminations. See, e.g., ¶¶ 33, 313-

20. That again is insufficient. See, e.g., Kalnit, 264 F.3d at 139 (plaintiffs “must do more than

merely charge that executives aim to prolong the benefits of the positions they hold”).

Perplexingly, Plaintiff even alleges that Mr. Flannery was motivated to delay recognizing a

goodwill impairment because it would “confirm the abject failure of Alstom, Flannery’s signature

project.” ¶ 33. But as Plaintiff admits, on November 14, 2017—before the Class Period even

began and only a few months after he became CEO—Mr. Flannery had already publicly stated that

the Alstom deal was a “disappointment” and “not an acceptable deal from a financial framework”

and that if GE “c[ould] go back in a time machine today, [it] would pay a substantially lower price

than [it] paid, there’s no doubt about that.” ¶ 243. It defies logic that Mr. Flannery would be

motivated to “inflate” goodwill to preserve the perceived success of GE Power’s integration of

Alstom after publicly stating that the deal was a disappointment. See In re Omega Healthcare



12
        To the extent Plaintiff contends that Defendants were motivated by a desire to maintain the
current (reduced) dividend for GE shareholders, see, e.g., ¶¶ 33, 307-10, a desire to earn profits
for shareholders “is the essence of the duty of loyalty,” and thus does not constitute the “requisite
motive to defraud the shareholders.” ECA, 553 F.3d at 200.


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Inv’rs, Inc. Sec. Litig., 375 F. Supp. 3d 496, 512 n.10 (S.D.N.Y. 2019) (“Courts often refuse to

infer scienter . . . when confronted with illogical allegations.”).

               2.      Plaintiff Has Not Pled Recklessness

       Without allegations of any cognizable motive, Plaintiff faces the difficult task of

establishing a strong inference that Defendants, without cause, recklessly engaged in securities

fraud. Kalnit, 264 F.3d at 142 (without motive, allegations of scienter must be “correspondingly

greater”). “Recklessness,” in this context, is more than “merely a heightened form of negligence”;

it is “conscious . . . i.e., a state of mind approximating actual intent.” S. Cherry St., 573 F.3d at

109. Here, Plaintiff fails to make such a showing.

                       a.      Plaintiff’s Conjecture Fails to Raise a Strong Inference of Scienter
                               Regarding GE’s Goodwill Estimates

       Plaintiff’s theory that Defendants fraudulently overstated the goodwill reported for GE’s

Power segment rests only on unabashed speculation. The AC references no confidential witnesses

who say anything about the Company’s goodwill impairment testing, much less witnesses with

any first-hand knowledge of the issue or direct contact with any Defendant. Instead, cobbling

together various generalized, publicly available, and unrelated facts, Plaintiff asserts that

Defendants must have known or recklessly disregarded that GE had not conducted an “accurate

assessment of goodwill impairment using reliable data and reasonable assumptions.” See, e.g.,

¶ 334 (alleging that scienter can be inferred from the fact that Alstom reduced GE’s profitability;

that Mr. Flannery admitted that Alstom’s performance was a disappointment; that declines in cash

flow forced GE to cut its dividend; that orders and shipments “dropped significantly” in 2017; that

2018 forecasts “mandated impairment”; and that the SEC’s investigation into GE’s revenue

recognition called into doubt “a major claimed benefit of the Alstom acquisition”). But nowhere

does the AC describe what particular data or assumptions GE actually used in its goodwill



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impairment testing, let alone demonstrate how or why those data and assumptions were unreliable

or unreasonable. Plaintiff’s remaining circumstantial allegations likewise fail to raise a strong

inference of scienter.

       First, Plaintiff alleges that the magnitude of the impairment charge ultimately taken by GE

gives rise to a strong inference of scienter. See ¶ 299. But allegations regarding the size of an

alleged fraud, standing alone, do no such thing. See, e.g., In re PXRE Grp., Ltd., Sec. Litig., 600

F. Supp. 2d 510, 545 (S.D.N.Y. 2009); In re Supercom Inc. Sec. Litig., 2018 WL 4926442, at *32

(S.D.N.Y. Oct. 10, 2018); cf. Lucescu, 2018 WL 1773134, at *3-4, *13 (no scienter where

impairment charge constituted “the entire amount of the reported goodwill associated with two of

[the company’s] business segments”).

       Second, Plaintiff attempts to shoehorn the “sudden” nature of the goodwill impairment

charge into a scienter allegation. See ¶ 299. Plaintiff’s theory is unconvincing, given that GE

repeatedly told investors about its ongoing goodwill testing, GE could only write down goodwill

if it failed the GAAP-mandated impairment test, GE announced interim impairments, and GE

warned of risks of further goodwill impairments due to continued power market softness and

Power’s underperformance, rendering the final impairments anything but “sudden.” See Ex. 20,

2017 Form 10-K, at 106; Ex. 23, Q1 2018 Form 10-Q, at 73; Ex. 27, Q2 2018 Form 10-Q, at 81.

Investors were fully aware that events and changed circumstances during the Class Period

indicated a risk of goodwill impairment, including due to GE’s decision to conduct interim testing

in between its ordinary annual goodwill impairment tests—which KPMG audited/reviewed—and

GE’s disclosure of the results of that testing to investors. See Ex. 20, 2017 Form 10-K, at 84; Ex.

27, Q2 2018 Form 10-Q, at 81; Ex. 3, ASC 350-20-35-30. GE’s repeated disclosures are wholly

inconsistent with a fraudulent intent to hide a potential goodwill impairment; to the contrary, GE

disclosed in real time the potential for the very outcome that Plaintiff accuses Defendants of

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concealing. See In re Magnum Hunter Res. Corp. Sec. Litig., 26 F. Supp. 3d 278, 298 (S.D.N.Y.

2014), aff’d, 616 F. App’x 442 (2d Cir. 2015) (no scienter where company continually disclosed

ongoing internal controls issues).

       Third, Plaintiff points to the timing of the departure of several Individual Defendants from

the Company as suggestive of recklessness. See, e.g., ¶ 316 (noting that Mr. Flannery’s departure

was announced on same day as goodwill impairment). However, Plaintiff alleges no link between

the alleged fraud and the departure of any Individual Defendant. Of course, executive resignations

and terminations during turbulent business times, without facts linking them to alleged fraud

(which Plaintiff has not pled here), do not suffice. See In re UBS, 2012 WL 4471265, at *18

(rejecting allegations of “forced resignations and terminations of key [] personnel” alone supported

a strong inference of scienter).

       Last, Plaintiff references a preexisting SEC inquiry into GE Power’s revenue recognition

practices, see ¶¶ 253, 334, and suggests that an investigation into its goodwill impairment

evidences scienter, see ¶ 301. But the existence of an “investigation[] cannot bolster allegations

of scienter that do not exist.” See, e.g., Cortina v. Anavex Life Scis. Corp., 2016 WL 7480415, at

*8 (S.D.N.Y. Dec. 29, 2016) (reasoning that “Defendants’ fraudulent intent cannot be inferred

from the mere existence of two inconclusive investigations separated by over two years, especially

in the absence of allegations of motive”).

                       b.      The Vague Allegations of One FE and Defendants’ Internal
                               Monitoring of Oxidation Issues Fail to Raise a Strong Inference of
                               Scienter Regarding GE’s H-Class Turbines

       Plaintiff’s reliance on one former employee and Defendants’ internal monitoring of

oxidation issues also fails to raise a strong inference of scienter on the part of any Defendant with

respect to GE’s H-class turbines. In fact, the AC does not even make the basic allegation that any

Defendant actually knew about the extent of the blade oxidation issue in the H-class turbines before


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making any alleged misstatements.       Rather, Plaintiff asks the Court to accept its various

assumptions about what Individual Defendants “would have” known. See, e.g., AC at V.C (“Due

to the Nature of these Turbine Defects, GE’s Highest-Level Executives Would Have Approved

[TILs] Sent to Customers”); ¶ 182 (“The chaotic environment and customer discontent caused by

the oxidation defect, and the financial impact on GE’s customer reputation, would have elevated

the oxidation issue to the highest levels of the Company, including all Defendants.”). But without

pleading what any Defendant actually knew (and when), Plaintiff cannot satisfy the PSLRA.

       As an initial matter, the negligible statements in the AC attributed to one former

employee—who is not alleged to have interacted with any Individual Defendant or to have had

any personal, first-hand knowledge of specific reports or information in any Individual

Defendant’s possession—fall well short of raising a strong inference of scienter. In general terms,

the FE describes the process by which GE issues TILs regarding gas turbines to customers, and

then provides an “opinion” that an unspecified TIL in “July/August 2017” “would have gone all

the way to the CEO [Mr. Flannery] because of the financial and reputational impact of the letter.”

¶ 172. The FE does not describe the contents of the TIL, identify any policies that would require

any Individual Defendant (or anyone else for that matter) to review or approve that TIL, allege

that the TIL was related to oxidation issues, or even claim to have seen it.13 The FE cannot be

referring to the January 2017 TIL cited and quoted in the AC, see ¶ 171, since (as Plaintiff

implicitly acknowledges) it had nothing to do with an alleged H-class oxidation issue, but rather

discussed F-class oxidation issues caused by contamination introduced during repairs. See Ex. 9,

TIL 2024, at 2 (cited at ¶ 171 n.2). Nor does Plaintiff or the FE explain how the mysterious TIL


13
        The sole FE fails even to “opin[e]” on whether any of the Individual Defendants apart from
Mr. Flannery “would have” seen the TIL, or even been aware of its existence. See ¶ 172. And to
be clear, the FE says nothing whatsoever about GE’s goodwill accounting or impairment testing.


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contradicted anything that was said by Mr. Flannery or any other Defendant. The FE’s allegations

thus should be afforded no weight. See, e.g., Glaser v. The9, Ltd., 772 F. Supp. 2d 573, 591

(S.D.N.Y. 2011) (allegations premised on confidential sources “must show that individual

defendants actually possessed the knowledge highlighting the falsity of public statements;

conclusory statements that defendants ‘were aware’ of certain information, and mere allegations

that defendants ‘would have’ or ‘should have’ had such knowledge is insufficient”) (citing Campo

v. Sears Holdings Corp., 371 F. App’x 212, 217 (2d Cir. 2010)); In re Elan, 543 F. Supp. 2d at

220 (concluding that a confidential source’s “curiously vague” statement that “senior management

was aware” could not be credited where “Plaintiffs d[id] not allege any facts indicating that [the

source] was in a position to have knowledge regarding communication with senior management

or the conclusions reached by . . . senior management upon receipt of this information”).

       Here, not only has Plaintiff failed to allege with particularity facts that directly contradict

the H-class turbine statements it challenges, see supra § I.A.2, it supplies no specific facts

regarding information even available to the Individual Defendants. See Plumbers & Steamfitters

Local 773 Pension Fund v. Canadian Imperial Bank of Commerce, 694 F. Supp. 2d 287, 299

(S.D.N.Y. 2010) (plaintiff “must specifically identify the reports or statements that are

contradictory to the statements made,” or must “provide specific instances in which Defendants

received information that was contrary to their public declarations.”). Plaintiff submits, for

example, that Defendants must have known of or recklessly disregarded “systemic manufacturing

defects that led to oxidation” in GE Power’s H-class turbines because, inter alia: (i) GE conducted

a root-cause analysis of oxidation in an F-class turbine discovered in 2015, (ii) GE observed

instances of cracking even on F-class turbine parts that had a special coating, (iii) in 2017, GE

issued a TIL to customers and worked with some H-class customers to implement upgrades to

avoid oxidation, and (iv) Defendants “followed Tusa’s commentary regarding the turbine issues

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at GE.” See ¶ 324. But none of those allegations establishes systemic manufacturing defects in

the H-class turbines, much less systemic manufacturing defects that any Defendant recklessly

disregarded when making general statements regarding the H-class turbines’ performance and

commercial success. See Teamsters Local 445 Freight Div. Pension Fund v. Dynex Capital, Inc.,

531 F.3d 190, 196 (2d Cir. 2008) (“Where plaintiffs contend defendants had access to contrary

facts, they must specifically identify the reports or statements containing this information.”).

       As Plaintiff acknowledges, GE was assessing the scope of blade oxidation issues and the

efficacy of potential fixes throughout the Class Period. ¶ 105. Contrary to Plaintiff’s theory, while

GE was doing so, Defendants did not have to abandon their optimism for the H-class turbine. See,

e.g., In re Carter-Wallace Sec. Litig., 220 F.3d 36, 41-42 (2d Cir. 2000) (no recklessness pled

because, although early adverse reports may have indicated a “potential problem,” the law does

not require a corporation to “abandon its product on what, at the time, would have been

speculation”); In re Rockwell Med., Inc. Sec. Litig., 2018 WL 1725553, at * 15 (S.D.N.Y. Mar. 30,

2018) (finding no recklessness where company did not provide “overly gloomy” reports on sales

prospects for new drug because, even if company “took a more optimistic view” than outside

analysts, the “law is clear that ‘misguided optimism is not a cause of action, and does not support

an inference of fraud’”) (quoting Jones v. Perez, 550 F. App’x 24, 26 (2d Cir. 2013)); In re Apple

Computer, Inc., 127 F. App’x 296, 303 (9th Cir. 2005) (“Because design, marketing and

manufacturing problems are common to business, a securities fraud claim must do more than allege

the existence of such problems; plaintiffs must allege with particularity that a speaker knew that

the severity, timing and extent of such problems rendered the statement false when made.”).

       The remainder of Plaintiff’s allegations rely on the routinely rejected supposition that, as a

result of their senior positions or access to internal data, the Individual Defendants must have

possessed information contradicting their public statements. See, e.g., ¶ 57 (“Because of their

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positions and access to material non-public information available to them, each of these

Defendants knew that the adverse facts specified herein had not been disclosed to, and were being

concealed from, the investing public, and that the positive representations which were being made

were then materially false and/or misleading.”); see also ¶¶ 174-75, 182. But these “must have

known” allegations are “entitled to no weight.” See, e.g., In re Ferrellgas Partners, L.P. Sec.

Litig., 2018 WL 2081859, at *17 (S.D.N.Y. Mar. 30, 2018); Schwab v. E*Trade Fin. Corp., 285

F. Supp. 3d 745, 757 (S.D.N.Y. 2018) (“[B]oilerplate allegations that defendants knew or should

have known of fraudulent conduct based solely on their . . . executive positions are insufficient.”).

                       c.      The Non-Fraudulent Inference Is More Compelling

       When “determining whether the pleaded facts give rise to a ‘strong’ inference of scienter,

the court must take into account plausible opposing inferences.” Tellabs, 551 U.S. at 323. Here,

the most cogent and compelling inferences to be drawn from the facts in the AC are non-

fraudulent—i.e., that GE: (i) tested goodwill often and in good faith, and took an impairment

charge when, consistent with GAAP, internal testing required it to do so; and (ii) investigated,

worked to resolve, and ultimately chose to disclose blade oxidation issues in a new product, its H-

class turbines, along with a solution they believed would fix these issues. Plaintiff’s allegations

thus do not raise any plausible inference of scienter, much less a strong one. See, e.g., Lucescu,

2018 WL 1773134, at *13 (reasoning that “[a]n expectation that Nortel’s new management would

be able to rebuild the company’s fortunes does not constitute an intent to deceive or defraud

investors” absent “plausible allegations of fraudulent intent or an extreme departure from the

standards of ordinary care”); In re Lululemon Sec. Litig., 14 F. Supp. 3d 553, 582-83 (S.D.N.Y.

2014), aff’d, 604 F. App’x 62 (2d Cir. 2015) (rejecting that a “need for quality in order to maintain

its brand would lead a company to make intentionally false statements regarding its remediation

of quality problems” as that would “only result in inevitable discovery with defective products”).


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       C.      Plaintiff Fails Adequately to Plead Loss Causation

       The AC also does not adequately allege loss causation, meaning, a “causal link between

the alleged misconduct and the economic harm ultimately suffered by the plaintiff.” 14 Lentell v.

Merrill Lynch & Co., 396 F.3d 161, 172 (2d Cir. 2005). In order to avoid dismissal under a

corrective disclosure theory of loss causation, as pled in the AC, Plaintiff must allege facts showing

that the disclosure of a previously concealed relevant “truth” caused GE’s stock price to decline.

See Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 342-43, 347 (2005). Plaintiff fails to do so.

       Instead, in vague terms, Plaintiff alleges that the “truth” concerning GE’s alleged

manipulation of goodwill accounting and defects in GE’s H-class turbines “was revealed to the

market through a series of partial disclosures,” beginning on September 20, 2018 and continuing

through the end of the Class Period on December 6, 2018. ¶ 369; see also ¶¶ 119-20, 129-30, 132,

134, 140-49, 150, 152-53, 156, 277, 283, 287-88, 367. But none of the obliquely referenced

“partial disclosures” revealed the alleged relevant “truth”; rather, these disclosures merely repeated

previously known information or disclosed nothing about the alleged fraud.

       First, Plaintiff alleges that GE’s “confirm[ation]” of a $22 billion goodwill impairment

charge and corresponding dividend cut on October 30, 2018 revealed that GE’s prior goodwill

accounting was fraudulent and caused its stock price to drop from $11.16 to $10.18. ¶¶ 279-84.

But Plaintiff concedes that GE announced on October 1, 2018 that it intended to “impair up to $23

billion in goodwill,” ¶¶ 34, 304, following which GE’s stock price rose from $10.86 to $11.63, a

fact which is judicially noticeable that Plaintiff tellingly omits. See Ex. 5, GE Historical Stock


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        Although the Second Circuit has not addressed whether loss causation must be pled with
particularity under Rule 9(b), at least one Court has suggested that a heightened pleading standard
applies. See Turner v. MagicJack VocalTec, Ltd., 2014 WL 406917, at *13 (S.D.N.Y. Feb. 3,
2014). The Court need not reach this issue, however, because Plaintiff fails even to meet the more
lenient standard under Fed. R. Civ. P. 8.


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Price; In re Barrick Gold Corp. Sec. Litig., 341 F. Supp. 3d 358, 367 (S.D.N.Y. 2018). This stock

price increase fatally undermines Plaintiff’s loss causation theory. See Waters v. Gen. Elec. Co.,

2010 WL 3910303, at *8 (S.D.N.Y. Sept. 29, 2010) (granting defendants’ motion to dismiss and

observing that “[t]he Court c[ould not] find, and Plaintiffs ha[d] not cited, a single section 10b-5

case in which the plaintiff prevailed on a motion to dismiss when the stock price increased after

an announcement revealing an alleged fraud”), aff’d, 447 F. App’x 229 (2d Cir. 2011).

       Moreover, GE’s confirmation of the impairment charge on October 30 was entirely

consistent with its earlier disclosures related to its assessment of goodwill, and revealed nothing

new or fraudulent. Specifically, GE observed that the goodwill impairment resulted from, inter

alia, a deteriorating outlook due to “the significant overcapacity in the industry, lower market

penetration, uncertain timing of deal closures due to deal financing, and the complexities of

working in emerging markets,” as well as “market factors such as increasing energy efficiency and

renewable energy penetration.” ¶ 283 (quoting Ex. 39, Q3 2018 Form 10-Q). Such cumulative

disclosures that do not reveal any “relevant truth” cannot support loss causation. See Janbay v.

Canadian Solar, Inc., 2012 WL 1080306, at *15 (S.D.N.Y. Mar. 30, 2012) (finding announcement

lowering projected margins due to “shifting [currency] exchange rates” that did not “concern[]

improper revenue recognition, sham transactions or deficient controls, and thus did not reveal any

‘relevant truth’ about the purported fraud,” warranted dismissal for failure to plead loss causation);

see also Central States, Se. & Sw. Areas Pension Fund v. Fed. Home Loan Mortg. Corp., 543 F.

App’x 72, 77 (2d Cir. 2013). Because the public knew that GE was poised to take an impairment

of “substantially all” of Power’s goodwill balance of approximately $23 billion on October 1, if




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anything the stock drop on October 30 represented the materialization of a known, previously

disclosed risk. It thus cannot support loss causation. See Central States, 543 F. App’x at 77.15

       Second, Plaintiff claims that media articles and analyst reports published on and after

September 20, 2018 regarding the shutdown of H-class turbines at Exelon due to blade oxidation

issues were partially corrective of Defendants’ alleged prior misstatements related to the

performance of its H-class turbines. See ¶¶ 119-28, 134. However, these articles and reports did

not correct any of Defendants’ prior relevant statements regarding the general performance of GE’s

H-class turbines (none of which had anything to do with oxidation, or the lack thereof), or reveal

to the market the “relevant truth” alleged by Plaintiff, i.e., that GE had known about oxidation

issues affecting the performance of its H-class turbines since 2015 and actively concealed them.

See ¶¶ 119-20, 132. The disclosures simply reported the undisputed facts that, starting in 2017,

GE had begun to investigate potential oxidation issues in its H-class turbines and develop a fix.

¶¶ 119-20, 134. Indeed, rather than revealing previously concealed fraud, many of these reports

“reassured the public that GE had a solution.” ¶¶ 130, 162.

       Furthermore, GE first disclosed the existence of oxidation issues in its H-class turbines

through internet posts on September 19, 2018—prior to Plaintiff’s first alleged “partial disclosure.”

See Ex. 34, Sept. 24, 2018 Gabelli Report, at 1 (cited at ¶ 132) (stating that GE disclosed oxidation

issues in September 19, 2018 LinkedIn and “GE Reports” articles). GE’s stock price again

increased from $12.17 to $12.37 as of market close on September 19. Ex. 5, GE Historical Stock


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         Moreover, it is well-settled that GE’s additional disclosure on October 30, 2018 that the
SEC and DOJ intended to investigate GE’s goodwill accounting cannot support loss causation.
Metzler Inv. GMBH v. Corinthian Colls., 540 F.3d 1049, 1059 (9th Cir. 2008) (disclosure of
Department of Education investigation insufficient to establish loss causation, because a disclosure
that merely “reveals a ‘risk’ or ‘potential’ for widespread fraudulent conduct” is insufficient); see
also Janbay, 2012 WL 1080306, at *15 (“The announcement of an SEC [] internal investigation
is itself insufficient to plead loss causation.”).


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Price. Plaintiff supposes that public coverage of the H-class oxidation issues caused GE’s stock

price to fall on September 20, 2018, see ¶ 128, but subsequent reports merely repeating or

analyzing information that is already public cannot establish loss causation. See, e.g., Turner,

2014 WL 406917, at *13 (no loss causation where plaintiffs “fail[ed] to allege with particularity

any facts connecting the specific alleged misrepresentations to declines in stock value” because

the alleged corrective disclosures contained information that was already public); In re CRM

Holdings, Ltd. Sec. Litig., 2012 WL 1646888, at *31 (S.D.N.Y. May 10, 2012) (dismissing for

failure to plead loss causation because “[i]nvestors cannot establish loss causation merely by

relying on an after-the-fact negative characterization of already-public information”).

       For the same reasons, Plaintiff’s reliance on (i) analyst reports commenting that GE’s

turbine blade issue was “a negative development” that “if not quickly resolved, could hurt GE’s

turbine brand image and market share,” ¶¶ 124, 127, and (ii) reports that some of GE’s customers

shut down their HA-class turbine for repairs, ¶ 134, as well as (iii) GE’s own announcements that

it was working on a solution, ¶ 130, is misplaced. These reports and announcements not only

failed to provide new information to the market, but they also did not disclose that GE acted

fraudulently in any way. See Fila v. Pingtan Marine Enter. Ltd., 195 F. Supp. 3d 489, 498

(S.D.N.Y. 2016) (dismissing complaint because plaintiffs failed to plausibly allege facts sufficient

to show that the purported fraud, rather than discussion of public information, proximately caused

their loss); Central States, 543 F. App’x at 75 (affirming dismissal for failure to plead loss

causation where “[a]n article report[ed] on the reasons for a previous decline in stock value based

on the same underlying conduct [plaintiff] claims was being concealed”). Without a causal

connection to any alleged misconduct, stock drops in response to these announcements simply

reflect “a negative effect on stock prices, but not a corrective effect.” Janbay, 2012 WL 1080306,




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at *15, *17 (dismissed on loss causation because the alleged partial disclosures “did not reveal any

‘relevant truth’ about the purported fraud”).

       Finally, Plaintiff cites to three downgrades of GE’s credit ratings, ¶¶ 155-58, 275-78, 287-

88, 292, which courts routinely hold are merely negative assessments of public information that

do not amount to corrective disclosures. E.g., Kuriakose v. Fed. Home Loan Mortg. Corp., 897 F.

Supp. 2d 168, 177 (S.D.N.Y. 2012) (finding credit downgrade was insufficient to establish loss

causation), aff’d sub nom. Central States, 543 F. App’x 72; see also Lentell, 396 F.3d at 175 & n.4

(holding that stock price drop following downgrade of stock did not amount to corrective

disclosure because downgrades did not reveal to the market the falsity of the prior

recommendations); Central States, 543 F. App’x at 75 (speculation about a company’s insolvency

based on inadequate capitalization and insufficient internal controls did not support loss causation).

       Plaintiff thus has failed to plead a causal connection between any of its purported losses

and the alleged fraud, and the Court also should dismiss the AC for failure to plead loss causation.

II.    THE AC FAILS TO PLEAD A SECTION 20(A) CLAIM

       A claim under Section 20(a) must have, as a predicate, a primary violation of the Securities

Exchange Act of 1934. 15 U.S.C. § 78t. Because Plaintiff fails to state a claim under Section

10(b), its Section 20(a) claim must also be dismissed. See ATSI, 493 F.3d at 108.

                                          CONCLUSION

       The AC states no claim under the stringent pleading requirements of Rule 9(b) and the

PSLRA. It should be dismissed with prejudice.




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Dated: New York, New York            Respectfully submitted,
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                                     LATHAM & WATKINS LLP


                                     By: /s/ Miles N. Ruthberg    _
                                         Miles N. Ruthberg
                                         Blake T. Denton
                                         885 Third Avenue
                                         New York, New York 10022
                                         (212) 906-1200
                                         miles.ruthberg@lw.com
                                         blake.denton@lw.com

                                          Sean M. Berkowitz (pro hac vice)
                                          330 North Wabash Avenue, Suite 2800
                                          Chicago, Illinois 60611
                                          (312) 876-7700
                                          sean.berkowitz@lw.com

                                          William J. Trach (pro hac vice)
                                          200 Clarendon Street
                                          Boston, Massachusetts 02116
                                          (617) 948-6000
                                          william.trach@lw.com

                                          Attorneys for Defendants General Electric
                                          Company, John L. Flannery, Jamie S.
                                          Miller, Jan R. Hauser, Russell Stokes,
                                          Chuck Nugent, Scott Strazik, and
                                          Joe Mastrangelo




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